                   Case 1:20-cr-00068-DMT                 Document 396           Filed 09/15/20         Page 1 of 1

/RFDO$2 5HY 2UGHU6FKHGXOLQJD+HDULQJ



                                       81,7('67$7(6',675,&7&2857
                                                                 IRUWKH
                                                         'LVWULFWRI1RUWK'DNRWD

                   8QLWHG6WDWHVRI$PHULFD
                              Y                                           &DVH1R 1:20-cr-068
                      Dajanique Nche Marshall



                                                         ORDER SCHEDULING
                                                         DETENTION HEARING

          $KHDULQJLQWKLVFDVHLVVFKHGXOHGDVIROORZV

Type: 'HWHQWLRQ+HDULQJ                                              Date and Time: September 21, 2020, at 1:30 PM


Place: 86)HGHUDO&RXUWKRXVH                                       Courtroom No.:
           Bismarck, ND                                                        BY TELEPHONE

        IT IS ORDERED:3HQGLQJWKHKHDULQJWKHGHIHQGDQWLVWREHGHWDLQHGLQWKHFXVWRG\RIWKH8QLWHG6WDWHV
PDUVKDORUDQ\RWKHUDXWKRUL]HGRIILFHU7KHFXVWRGLDQPXVWEULQJWKHGHIHQGDQWWRWKHKHDULQJDWWKHWLPHGDWHDQG
SODFHVHWIRUWKDERYH




                 09/15/2020                                                         /s/ Clare R. Hochhalter
'DWH
                                                                                              Judge’s signature


                                                                                 Clare R. Hochhalter, Magistrate Judge
                                                                                            Printed name and title
